                   IN THE UNITED STATES DISTRICT COURT FOR THE                         JUL - 8 2020
                           EASTERN DISTRICT OF VIRGINIA
                                                                                 CLERK, .S. DISTRICT COURT
                                       Alexandria Division                             RIC HMOND,VA



UNITED STATES OF AMERICA                             )       Case No. 1:20-CR-162
                                                     )
                                                     )       Count 1: Dealing in Firearms
       v.                                            )       Without a License (18 U.S.C. §§
                                                     )       922(a)(l)(A), 923(a), and
                                                     )       924(a)(l)(D))
DAVUD SUNGUR                                         )
                                                     )       Count 2: Unlawful Transfer of a
               Defendant.                            )       Machinegun (18 U.S.C. § 922(0))


                                         INDICTMENT

                                 July 2020 Term - at Richmond

                                           Count One
                            (Dealing in Firearms Without a License)

        THE GRAND JURY CHARGES THAT:

       Beginning in and around March 2019, the exact date being unknown to the Grand Jury,

and continuing through on or about March 18, 2020, at various locations within the Eastern District

of Virginia, the defendant, DAVUD SUNGUR, not being a licensed dealer of firearms within the

meaning of Chapter 44, Title 18, United States Code, did willfully engage in the business of

dealing in firearms.

 (In violation of Title 18, United States Code, Sections 922(a)(l)(A), 923(a), and 924(a)(l)(D).)
                                           Count Two
                             {Unlawful Transfer ofa Machinegun)

      THE GRAND JURY FURTHER CHARGES THAT:

        On or about January 22, 2020, in Fairfax County, Virginia, within the Eastern District of
Virginia, the defendant, DAVUD SUNGUR,did knowingly transfer a machinegun, as defined in
Title 26,United States Code,Section 5845(b),to wit a machinegun conversion device that is a part
designed and intended solely and exclusively for use in converting a weapon into a machinegun.
                 (In violation of Title 18, United States Code,Section 922(o).)


                                                A TRUE BILL


                                                       redacted

       G. Zachary Terwilliger
        United States Attorney



By:

                         States Attorney
